       Case 2:22-cv-01282-JLR Document 46 Filed 04/10/23 Page 1 of 1



 1

 2                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 3                                    AT SEATTLE
 4
                                                       Master File No. 2:22-cv-01282-JLR
 5   In Re: Zillow Group, Inc. Session Replay
     Software Litigation                             NOTICE OF WITHDRAWAL OF
 6                                                   KATE M. BAXTER-KAUF AND
     This Document Refers to: All Actions            KAREN HANSON RIEBEL
 7

 8

 9
            PLEASE TAKE NOTICE that Kate M. Baxter-Kauf and Karen Hanson Riebel of
10
     Lockridge Grindal Nauen P.L.L.P., 100 Washington Avenue South, Suite 2200,
11
     Minneapolis, Minnesota 55401, hereby withdraw their appearances in the above-
12
     captioned matter, previously entered on behalf of Plaintiffs Jill Adams and minor H.A.
13
     against Defendant Zillow Group, Inc. Plaintiffs Jill Adams a minor H.A. will continue to
14
     be represented by court-appointed lead counsel in this matter and all other listed counsel
15
     in this matter.
16
     DATED: April 8, 2023                  Respectfully submitted,
17
                                           LOCKRIDGE GRINDAL NAUEN P.L.L.P.
18

19                                         By: /s/ Kate M. Baxter-Kauf
20                                         Kate M. Baxter-Kauf
                                           Karen Hanson Riebel
21                                         LOCKRIDGE GRINDAL NAUEN P.L.L.P.
22                                         100 Washington Avenue South, Suite 2200
                                           Minneapolis, MN 55401
23                                         Telephone: (612) 339-6900
                                           Facsimile: (612) 339-0981
24
                                           kmbaxter-kauf@locklaw.com
25                                         khriebel@locklaw.com

26

27

     Notice of Withdrawal - 1                             Lockridge Grindal Nauen PLLP
                                                         100 Washington Ave S, Ste 2200
                                                                 Minneapolis, MN 55401
